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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,             )            4:05CR3029-4
                                      )
                Plaintiff,            )
                                      )
     vs.                              )            TENTATIVE
                                      )            FINDINGS
MICHAEL J. CURRY,                     )
                                      )
                Defendant.            )

     I am in receipt of the presentence investigation report in
this case.    The parties had no objections to the presentence
report. See Order of October 11, 2005. After consideration of the
presentence report,

     IT HEREBY IS ORDERED:

     (1) The parties are herewith notified that my tentative
findings are that the presentence report is correct in all
respects;

     (2) If any party wishes to challenge these tentative
findings, said party shall, as soon as possible, but in any event
at least five (5) business days before sentencing, file in the
court file and serve upon opposing counsel and the court a motion
challenging these tentative findings, supported by (a) such
evidentiary materials as are required (giving due regard to the
requirements of the local rules of practice respecting the
submission of evidentiary materials), (b) a brief as to the law and
(c) if an evidentiary hearing is requested, a statement describing
why an evidentiary hearing is necessary and how long such a hearing
would take;

     (3) Absent submission of the information required by
paragraph 2 of this order, my tentative findings may become final;

     (4) Unless otherwise ordered, any motion challenging these
tentative findings shall be resolved at sentencing.

     DATED December 14, 2005,

                                      BY THE COURT
                                      s/  David L. Piester
                                      David L. Piester
                                      United States Magistrate Judge
